                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )       NO. 3:13-00056
                                                        )       JUDGE CAMPBELL
CHRISTOPHER ANDREW WILCOX, et al.                       )

                                               ORDER

        The trial in this case is set for August 6, 2013, at 9:00 a.m. A pretrial conference is scheduled

for August 5, 2013, at 9:00 a.m. A status conference is scheduled for July 15, 2013, at 8:45 a.m. All

lawyers who will try the case shall attend the status conference.

        Any plea agreement shall be consummated by July 29, 2013, and the Courtroom Deputy so

notified. Any proposed plea agreement shall be submitted to the Court by July 30, 2013. If a plea

agreement is submitted, the hearing to take the plea will take place on August 5, 2013, at 9:00 a.m.

                                       Pretrial Filing Deadlines

        Defendant Wilcox’s Motion to Stay Pretrial Filing Deadline (Docket No. 42) is granted in

part and denied in part. The pretrial motion filing deadline is extended to July 29, 2013.

        The parties shall file the following with the Court, on or before July 29, 2013, if the case is

to be tried: (1) case specific jury instructions, with citations to supporting authorities, and verdict

forms; and (2) motions in limine. Counsel for the parties shall comply timely with the discovery and

motion provisions of LCrR 12.01 and 16.01.

                                             Continuances

        Any motion to continue the trial, pretrial conference or plea dates shall be filed no later than

one week before the pretrial conference date. Any motion to continue the trial shall attach a Speedy

Trial Waiver signed by the Defendant or an explanation of why the Waiver is not attached.




     Case 3:13-cr-00056       Document 43         Filed 06/12/13       Page 1 of 2 PageID #: 81
                                            Attendance

       All Defendants shall attend all Court proceedings in this case. If a Defendant is in custody,

the Government shall take all necessary actions to secure the timely presence of the Defendant.

                                        CJA Fund Requests

       In any request for CJA funds pursuant to 18 U.S.C. § 3006A(e), counsel shall indicate

whether prior requests have been made, and if so, provide identifying information for those requests.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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   Case 3:13-cr-00056        Document 43        Filed 06/12/13      Page 2 of 2 PageID #: 82
